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                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES ET AL.                             :       Case No. 3:17-CV-72

                  Plaintiff                            :      Judge MOON


                                                       :
           -v-

    JASON KESSLER ET AL.                               :

                                                       :
                  Defendants


                  MOTION TO DISMISS THE PLAINTIFF’S COMPLAINT



          Now comes defendants Traditionalist Worker Party and Matthew Heimbach and

    move the Court to dismiss the Plaintiff’s claims against them pursuant to FRCP 12.


                                                Respectfully Submitted,


                                                s/ Elmer Woodard
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                                                Trial Attorney for Defendant




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                                     CERTIFICATE OF SERVICE

       I hereby certify this Notice and all accompanying documents were served via
       electronic mail on December 7, 2017 upon:

       All parties of record. One party is entitled to or has requested service by other means
       and said party has been served by regular US mail as follows:
       Mr. Michael Enoch Peinovich
       PO Box 1069
       Hopewell Junction, NY 12533      .

                                                       s/ Elmer Woodard

                                                       E. Woodard (VSB 27734)




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